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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     ) Chapter 11
                                                           )
AMERIFIRST FINANCIAL, INC., et al.,1                       ) Case No. 23-11240 (TMH)
                                                           )
                                    Debtors.               ) (Jointly Administered)
                                                           )

                              SCHEDULING AND PROTECTIVE ORDER

                  Consistent with this Court’s ruling at the status conference on September 29, 2023,

the following schedule and confidentiality restrictions shall apply to the matters addressed below.

                  IT IS HEREBY ORDERED that:

                  1.       The firm of Kasowitz Benson Torres LLP (“Kasowitz”) may file an

application to be retained as counsel to the Official Committee of Unsecured Creditors by no later

than October 4, 2023. Any responses or objections to such application, or other request for relief,

such as a motion to disqualify Kasowitz, shall be filed by October 13, 2023, and any replies or

objections shall be filed by October 17, 2023 at 5:00 p.m. Eastern time. This Court shall conduct a

hearing to consider Kasowitz’s employment on October 20, 2023 at 10:00 a.m. Eastern time.

                  2.       Without leave of Court, no non-public or confidential information regarding

the Debtors may be shared with Kasowitz by anyone, including the firm of Morris, Nichols, Arsht

& Tunnell LLP (“Morris Nichols”), the Official Committee of Unsecured Creditors (the

“Committee”), or any of its members, and any past directors or officers of Amerifirst Financial, Inc.,

including Eric Bowlby. Kasowitz shall protect all confidential attorney-client communications and

information (as required by ABA Model Rules 1.6 and 1.9, applicable state law analogs and

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    The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040 LLC
    (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite 117,
    Mesa, AZ 85203.
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interpretive case law) between it and the Debtors, and Kasowitz shall not, without leave of Court,

divulge (other than to the Debtors) any such confidential and privileged information of the Debtors

to anyone, including Morris Nichols, the Committee, or any of its members, and any past directors

or officers of Amerifirst Financial, Inc., including Eric Bowlby. For the avoidance of doubt,

members of the Committee shall not, without leave of Court, disclose to anyone any non-public or

confidential information regarding the Debtors that may be shared with such members by Morris

Nichols or anyone else.

                 3.          The final hearing on the Motion of the Debtors for Interim and Final Orders

(I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)

Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)

Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 21] shall be conducted

on October 20, 2023 at 10:00 a.m. Eastern time. The Debtors shall file a revised proposed form of

final order and budget by no later than October 6, 2023. Any responses or objections to such order

shall be filed by October 13, 2023 at 5:00 p.m. Eastern time, and any replies shall be filed by October

17, 2023 at 5:00 p.m. Eastern time.

                 4.          The hearing on the United States Trustee’s Motion to Transfer Venue [Docket

No. 142] shall be conducted on October 20, 2023 at 10:00 a.m. Eastern time. Any responses or

objections to such motion shall be filed by October 13, 2023 at 5:00 p.m. Eastern time, and any

replies shall be filed by October 17, 2023 at 5:00 p.m. Eastern time.

                 5.          Discovery with respect to the foregoing matters may be conducted by the

parties on an expedited basis. Any discovery disputes that cannot be promptly resolved may be

brought before the Court.


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                 6.          Deadlines contained in this Scheduling Order may be extended by written

agreement of the parties and approval of this Court, or upon written motion for cause shown.




            Dated: October 5th, 2023                 THOMAS M. HORAN
            Wilmington, Delaware                     UNITED STATES BANKRUPTCY JUDGE



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